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     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                             No. 18-3093

                          Jon Verba, et al v. Metropolitan Life Insurance

                                 (Originating Court No. 2-17-cv-00769)

                                             ORDER

In accordance with the agreement of the parties in the above-captioned case, the matter is hereby
dismissed pursuant to Fed. R. App. P. 42(b), without cost to either party. A certified copy of this
order is issued in lieu of a formal mandate.


For the Court,


s/ Patricia S. Dodszuweit
Clerk

Date: November 13, 2018
                                                                   A True Copy:
cc: James L. Griffith Jr. Esq.
John D. Newborg Esq.
                                                                   Patricia S. Dodszuweit, Clerk
                                                                   Certified Order Issued in Lieu of Mandate
